                    IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTTERN DISTRICT OF TENNESSEE

DIANE MAURIELLO,                                 )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )      No. 3:11-cv-00432
                                                 )
GREAT AMERICAN E&S INSURANCE                     )
COMPANY                                          )
                                                 )
       Defendant.                                )


                                  NOTICE OF APPEAL

       COMES the Plaintiff Diane Mauriello, by and through counsel, and gives notice of

appeal to the United States Court of Appeals for the Sixth Circuit to appeal the granting of

summary judgment by Order of the district court signed on the 7th day of March, 2013, and

entered on the 7th day of March, 2013. [Doc. No. 35]

       RESPECTFULLY SUBMITTED this 27th day of March 2013.


                                          /s/ Arthur F. Knight, III
                                          ARTHUR F. KNIGHT, III, BPR#016178
                                          TAYLOR & KNIGHT, G.P.
                                          800 SOUTH GAY STREET, SUITE 600
                                          KNOXVILLE, TN 37929
                                          865-971-1701
                                          FAX: 865-971-1705
                                          amber@taylorknightlaw.com




Case 3:11-cv-00432-HBG Document 37 Filed 03/27/13 Page 1 of 2 PageID #: 626
                               CERTIFICATE OF SERVICE

       I hereby certify that on March 27, 2013, a copy of the foregoing Notice of Appeal
was filed electronically. Notice of this filing will be sent by operation of the Court=s
electronic filing system to all parties indicated on the electronic filing receipt. All other
parties will be served by U.S. Mail. Parties may access this filing through the Court=s
electronic filing system.

       This 27th day of March, 2013.

                                          /s/ Arthur F. Knight, III
                                          Arthur F. Knight, III




                                             2



Case 3:11-cv-00432-HBG Document 37 Filed 03/27/13 Page 2 of 2 PageID #: 627
